                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                    AT NASHVILLE

 ANNABELLE LEE,                                 )
                                                )
         Plaintiff,                             )
                                                )     Case No. 3:19-cv-00999
 v.                                             )
                                                )     Judge Trauger
 METROPOLITAN NASHVILLE                         )     Magistrate Judge Holmes
 AIRPORT AUTHORITY and MARK                     )
 LAWRENCE,                                      )
                                                )
         Defendants.                            )

                                    PROTECTIVE ORDER

        In accordance with Rule 26(c) of the Federal Rules of Civil Procedure and 45 C.F.R. §

164.512(e)(1), the Court finds good cause for the issuance of a qualified protective order. It is

therefore ORDERED as follows:

        1.     The parties and their attorneys are hereby authorized to receive, subpoena, and

transmit “protected health information” pertaining to Plaintiff to the extent and subject to the

conditions outlined herein.

        2.     For the purposes of this qualified protective order, “protected health information”

shall have the same scope and definition as set forth in 45 C.F.R. § 160.103 and 164.501. Protected

health information includes, but is not limited to, health information, including demographic

information, relating to either (a) the past, present, or future physical or mental condition of an

individual, (b) the provision of care to an individual, or (c) the payment for care provided to an

individual, which identifies the individual or which reasonably could be expected to identify the

individual.




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      Case 3:19-cv-00999 Document 90 Filed 11/12/21 Page 1 of 4 PageID #: 922
       3.      All “covered entities” (as defined by 45 C.F.R. § 160.103) are hereby authorized to

disclose protected health information pertaining to Plaintiff to attorneys representing the Plaintiff

and Defendant in the above-captioned litigation.

       4.      The parties and their attorneys shall be permitted to use or disclose the protected

health information of Plaintiff for purposes of prosecuting or defending this action including any

appeals of this case. This includes, but is not necessarily limited to, disclosure to their attorneys,

experts, consultants, court personnel, court reporters, copy services, and other entities or persons

involved in the litigation process.

       5.      Prior to disclosing Plaintiff’s protected health information to persons involved in

this litigation, counsel shall inform each such person that Plaintiff’s protected health information

may not be used or disclosed for any purpose other than this litigation. Counsel shall take all other

reasonable steps to ensure that persons receiving Plaintiff’s protected health information do not

use or disclose such information for any purpose other than this litigation.

       6.      Within 45 days after the conclusion of the litigation including appeals, the parties,

their attorneys, and any person or entity in possession of protected health information received

from counsel pursuant to paragraph four of this Order, shall return Plaintiff’s protected health

information to the covered entity or destroy any and all copies of protected health information

pertaining to Plaintiff, except that counsel are not required to secure the return or destruction of

protected health information submitted to the Court.

       7.      This Order does not control or limit the use of protected health information

pertaining to Plaintiff that comes into the possession of the parties or their attorneys from a source

other than a “covered entity,” as that term is defined in 45 C.F.R. § 160.103.




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    Case 3:19-cv-00999 Document 90 Filed 11/12/21 Page 2 of 4 PageID #: 923
        8.     Nothing in this Order authorizes counsel for the Defendants to obtain medical

records or information through means other than formal discovery requests, subpoenas,

depositions, pursuant to a patient authorization, or other lawful purposes.

        9.     This Order does not authorize either party to seal court filings or court proceedings.

The Court will make a good cause determination for filing under seal if and when the parties seek

to file Plaintiff’s protected health information under seal. However, any party that wishes to file

documents protected under this Order shall file a motion to seal that conforms with Local Rule

5.03.

        It is so ORDERED.



                                              ____________________________________

                                              BARBARA D. HOLMES
                                              United States Magistrate Judge




                                                 3

    Case 3:19-cv-00999 Document 90 Filed 11/12/21 Page 3 of 4 PageID #: 924
Approved for Entry,




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Counsel for Defendants



                                CERTIFICATE OF SERVICE

        I certify that a copy of the foregoing was sent by U.S. mail, postage prepaid, on this 26th
day of July, 2021, to:

       Annabelle Lee
       603 Blackstone Avenue
       Madison, Tennessee 37115


                                             Ryan P. Loofbourrow




                                                4

    Case 3:19-cv-00999 Document 90 Filed 11/12/21 Page 4 of 4 PageID #: 925
